Case 4:07-cv-05944-JST Document 2242-2 Filed 12/03/13 Page 1 of 180




                       EXHIBIT A
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page1
                                                       Page 2ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page2
                                                       Page 3ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page3
                                                       Page 4ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page4
                                                       Page 5ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page5
                                                       Page 6ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page6
                                                       Page 7ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page7
                                                       Page 8ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page8
                                                       Page 9ofof179
                                                                  180
Case 4:07-cv-05944-JST Document
  Case3:07-cv-05944-SC          2242-2 Filed
                        Document1660-1       12/03/13 Page9
                                       Filed04/25/13  Page 10
                                                            of of
                                                               179180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page10
                                                       Page 11ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page11
                                                       Page 12ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page12
                                                       Page 13ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page13
                                                       Page 14ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page14
                                                       Page 15ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page15
                                                       Page 16ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page16
                                                       Page 17ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page17
                                                       Page 18ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page18
                                                       Page 19ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page19
                                                       Page 20ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page20
                                                       Page 21ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page21
                                                       Page 22ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page22
                                                       Page 23ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page23
                                                       Page 24ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page24
                                                       Page 25ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page25
                                                       Page 26ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page26
                                                       Page 27ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page27
                                                       Page 28ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page28
                                                       Page 29ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page29
                                                       Page 30ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page30
                                                       Page 31ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page31
                                                       Page 32ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page32
                                                       Page 33ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page33
                                                       Page 34ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page34
                                                       Page 35ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page35
                                                       Page 36ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page36
                                                       Page 37ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page37
                                                       Page 38ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page38
                                                       Page 39ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page39
                                                       Page 40ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page40
                                                       Page 41ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page41
                                                       Page 42ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page42
                                                       Page 43ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page43
                                                       Page 44ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page44
                                                       Page 45ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page45
                                                       Page 46ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page46
                                                       Page 47ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page47
                                                       Page 48ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page48
                                                       Page 49ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page49
                                                       Page 50ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page50
                                                       Page 51ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page51
                                                       Page 52ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page52
                                                       Page 53ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page53
                                                       Page 54ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page54
                                                       Page 55ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page55
                                                       Page 56ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page56
                                                       Page 57ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page57
                                                       Page 58ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page58
                                                       Page 59ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page59
                                                       Page 60ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page60
                                                       Page 61ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page61
                                                       Page 62ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page62
                                                       Page 63ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page63
                                                       Page 64ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page64
                                                       Page 65ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page65
                                                       Page 66ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page66
                                                       Page 67ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page67
                                                       Page 68ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page68
                                                       Page 69ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page69
                                                       Page 70ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page70
                                                       Page 71ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page71
                                                       Page 72ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page72
                                                       Page 73ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page73
                                                       Page 74ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page74
                                                       Page 75ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page75
                                                       Page 76ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page76
                                                       Page 77ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page77
                                                       Page 78ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page78
                                                       Page 79ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page79
                                                       Page 80ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page80
                                                       Page 81ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page81
                                                       Page 82ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page82
                                                       Page 83ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page83
                                                       Page 84ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page84
                                                       Page 85ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page85
                                                       Page 86ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page86
                                                       Page 87ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page87
                                                       Page 88ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page88
                                                       Page 89ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page89
                                                       Page 90ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page90
                                                       Page 91ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page91
                                                       Page 92ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page92
                                                       Page 93ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page93
                                                       Page 94ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page94
                                                       Page 95ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page95
                                                       Page 96ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page96
                                                       Page 97ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page97
                                                       Page 98ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page98
                                                       Page 99ofof179
                                                                   180
Case 4:07-cv-05944-JST Document
  Case3:07-cv-05944-SC          2242-2 Filed
                       Document1660-1        12/03/13 Page99
                                       Filed04/25/13  Page 100
                                                             of of
                                                                179180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page100
                                                       Page 101ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page101
                                                       Page 102ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page102
                                                       Page 103ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page103
                                                       Page 104ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page104
                                                       Page 105ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page105
                                                       Page 106ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page106
                                                       Page 107ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page107
                                                       Page 108ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page108
                                                       Page 109ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page109
                                                       Page 110ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page110
                                                       Page 111ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page111
                                                       Page 112ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page112
                                                       Page 113ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page113
                                                       Page 114ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page114
                                                       Page 115ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page115
                                                       Page 116ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page116
                                                       Page 117ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page117
                                                       Page 118ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page118
                                                       Page 119ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page119
                                                       Page 120ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page120
                                                       Page 121ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page121
                                                       Page 122ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page122
                                                       Page 123ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page123
                                                       Page 124ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page124
                                                       Page 125ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page125
                                                       Page 126ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page126
                                                       Page 127ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page127
                                                       Page 128ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page128
                                                       Page 129ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page129
                                                       Page 130ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page130
                                                       Page 131ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page131
                                                       Page 132ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page132
                                                       Page 133ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page133
                                                       Page 134ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page134
                                                       Page 135ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page135
                                                       Page 136ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page136
                                                       Page 137ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page137
                                                       Page 138ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page138
                                                       Page 139ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page139
                                                       Page 140ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page140
                                                       Page 141ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page141
                                                       Page 142ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page142
                                                       Page 143ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page143
                                                       Page 144ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page144
                                                       Page 145ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page145
                                                       Page 146ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page146
                                                       Page 147ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page147
                                                       Page 148ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page148
                                                       Page 149ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page149
                                                       Page 150ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page150
                                                       Page 151ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page151
                                                       Page 152ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page152
                                                       Page 153ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page153
                                                       Page 154ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page154
                                                       Page 155ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page155
                                                       Page 156ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page156
                                                       Page 157ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page157
                                                       Page 158ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page158
                                                       Page 159ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page159
                                                       Page 160ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page160
                                                       Page 161ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page161
                                                       Page 162ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page162
                                                       Page 163ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page163
                                                       Page 164ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page164
                                                       Page 165ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page165
                                                       Page 166ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page166
                                                       Page 167ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page167
                                                       Page 168ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page168
                                                       Page 169ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page169
                                                       Page 170ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page170
                                                       Page 171ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page171
                                                       Page 172ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page172
                                                       Page 173ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page173
                                                       Page 174ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page174
                                                       Page 175ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page175
                                                       Page 176ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page176
                                                       Page 177ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page177
                                                       Page 178ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page178
                                                       Page 179ofof179
                                                                    180
Case 4:07-cv-05944-JST Document
 Case3:07-cv-05944-SC           2242-2 Filed04/25/13
                       Document1660-1  Filed 12/03/13 Page179
                                                       Page 180ofof179
                                                                    180
